                                                                                                       s/.1
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                              FILED
                                                                                 Nirv o t   nwfQ
MARINA CUAUTLE                                                                THOMASG. BRUTON
                                                                           CLERK U.S, DISTRICT COURT
Plaintiff
                                                case No.   18cv-o6ee5 ; ll$Y 0 I                2019
V.                                             Hon. Charles   P. Kocoras
HC JOLIET, LLC

Defendant


            PLAINTIFF RESPONSE TO HC JOLIET, LLC MOTION TO DISMISS

    Plaintiff Marina Cuautle, respectfully submit this response to defendant motion to
dismiss and states as follows:

      On October 18,2O18 I filled a complaint of Employment Discrimination and waited
for the court to decide if my complain would be accepted.

     On May 13,2019 the court made a decision and on July 24,20191 was required to
pay the filling fee. Then I proceeded to notify the defendant via Spee-Dee which it was
suggested to me by the cashier of the shipping establishment to ensure prompt
delivery. This company has on online tracking service to ensure delivery.
     I personally checked the tracking process to make sure the defendant was notified.

   The delivery was made to HC Joliet, LLC Human Resources, because I had no
knowledge of the law firm that would be representing them, and all the documents that
where filled with the court were included in the envelope.

DATED: November 1,2019                    Respectf ully subm itted,

                                       Arrz"-.".
                                            Marina Cuautle

Marina Cuautle
1711 Prairie Wind Dr.
Joliet, lL 60435
Tel: 773-554-2767
